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                         Exhibit F
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                                                                         Seaport West
                                                                         155 Seaport Boulevard
                                                                         Boston, MA 02210-2600

                                                                         617.832.1000 main
                                                                         617.832.7000 fax




                                                                         Martha M. Coakley
                                                                         617-832-1129 direct
                                                                         mcoakley@foleyhoag.com



August 16, 2022


Via E-mail
Thomas M. Harvey
22 Mill Street, Suite 408
Arlington, MA 02476
tharveyesq@aol.com

        Re:         Your June 22, 2022 Letter on Behalf of Attleboro Women’s Health Center

Dear Mr. Harvey,

       I am writing on behalf of Four Women Health Services, LLC (“Four Women”) in
response to your letter sent on June 22, 2022 on behalf of Attleboro Women’s Health Center
(“AWHC”). In your letter, you accused Four Women of engaging in a variety of actions you
characterized as “illegal and libelous.” This accusation is wholly unfounded: Four Women
has not engaged in any of the activities enumerated in your letter nor any conduct that could
amount to a violation of applicable law.

        Your letter fails to identify any specific information associated with the conduct alleged
therein. Your broad claim that Four Women has engaged in activity potentially warranting
legal sanction appears calculated to harass, rather than address any legitimate concerns held by
AWHC. If you have evidence of specific incidents related to any of the activity described in
your letter, I encourage you to provide this information to me at Foley Hoag LLP. In the
meantime, however, Four Women has assessed and investigated your generalized assertions
and denies them in full.

        Four Women has provided essential reproductive health care to its patients for almost
25 years and always seeks to ensure that its patients are able to obtain Four Women’s services
in a safe environment. Four Women understands well the harm that harassment, threats, and
misinformation can cause to patients seeking sensitive and critical health services. To this end,
Four Women prioritizes not only complying with all applicable law, but also maintaining a
peaceful presence in the community to protect its patients. Four Women hopes that its
neighbors follow similar principles.



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Thomas M. Harvey
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         Should you wish to discuss this matter further, please direct all future correspondence
to me.

                                              Cordially,

                                              Martha Coakley

                                              Of Counsel


CC:      Caroline Donovan, Esq.
         Emily Nash, Esq.




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